          Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 1 of 53 - Page ID#: 74




0901119cab05ce01
          Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 2 of 53 - Page ID#: 75




0901119cab05ce01
          Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 3 of 53 - Page ID#: 76




0901119cab05ce01
          Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 4 of 53 - Page ID#: 77




0901119cab05ce01
          Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 5 of 53 - Page ID#: 78




0901119cab05ce01
          Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 6 of 53 - Page ID#: 79




0901119cab05ce01
          Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 7 of 53 - Page ID#: 80




0901119cab05ce01
          Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 8 of 53 - Page ID#: 81




0901119cab05ce01
          Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 9 of 53 - Page ID#: 82




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 10 of 53 - Page ID#: 83




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 11 of 53 - Page ID#: 84




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 12 of 53 - Page ID#: 85




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 13 of 53 - Page ID#: 86




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 14 of 53 - Page ID#: 87




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 15 of 53 - Page ID#: 88




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 16 of 53 - Page ID#: 89




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 17 of 53 - Page ID#: 90




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 18 of 53 - Page ID#: 91




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 19 of 53 - Page ID#: 92




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 20 of 53 - Page ID#: 93




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 21 of 53 - Page ID#: 94




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 22 of 53 - Page ID#: 95




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 23 of 53 - Page ID#: 96




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 24 of 53 - Page ID#: 97




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 25 of 53 - Page ID#: 98




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 26 of 53 - Page ID#: 99




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 27 of 53 - Page ID#: 100




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 28 of 53 - Page ID#: 101




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 29 of 53 - Page ID#: 102




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 30 of 53 - Page ID#: 103




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 31 of 53 - Page ID#: 104




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 32 of 53 - Page ID#: 105




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 33 of 53 - Page ID#: 106




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 34 of 53 - Page ID#: 107




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 35 of 53 - Page ID#: 108




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 36 of 53 - Page ID#: 109




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 37 of 53 - Page ID#: 110




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 38 of 53 - Page ID#: 111




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 39 of 53 - Page ID#: 112




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 40 of 53 - Page ID#: 113




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 41 of 53 - Page ID#: 114




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 42 of 53 - Page ID#: 115




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 43 of 53 - Page ID#: 116




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 44 of 53 - Page ID#: 117




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 45 of 53 - Page ID#: 118




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 46 of 53 - Page ID#: 119




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 47 of 53 - Page ID#: 120




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 48 of 53 - Page ID#: 121




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 49 of 53 - Page ID#: 122




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 50 of 53 - Page ID#: 123




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 51 of 53 - Page ID#: 124




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 52 of 53 - Page ID#: 125




0901119cab05ce01
         Case: 7:21-cv-00004-DLB Doc #: 12-2 Filed: 02/25/21 Page: 53 of 53 - Page ID#: 126




0901119cab05ce01
